Case 9:18-cv-01472-TJM-TWD Document 67 Filed 05/21/20 Page 1 of 2

UNITED STATES DISTRICT COURT

‘JOHN M. DOMURAD
Clerk

DAN MCALLISTER
Chief Deputy

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CASE NUMBER: 18-CV-1472

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NORTHERN DISTRICT OF NEW YORK

James M. Hanley Federal Building
P.O. Box 7367, 100 S. Clinton St.
Syracuse, New ‘York 13261-7367
(315) 234-8500

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,, Timothy E. Lando, Jr.

 

in case(s):

Lando V. Annucci, et., al.

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U.S. DISTRICT COURT

 
 
  
   

 

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John M. Domurad. Clerk Syracuse

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